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                         EXHIBIT A
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  From:              Assae-Bille, Vanessa (CFPB)
  To:                fsebreros@gmail.com
  Cc:                Reardon, Colin (CFPB)
  Subject:           Service of Process in CFPB v. Chou Team Realty, LLC, et al., No. 20-cv-43 (C.D. Cal.)
  Date:              Thursday, June 04, 2020 12:43:22 PM
  Attachments:       1 - Complaint.pdf
                     13.11 - Summons Sebreros.pdf
                     98 - Alt Service Order.pdf
  Importance:        High


 Mr. Sebreros,

 On January 9, 2020, the Bureau of Consumer Financial Protection (Bureau) filed a
 Complaint in the above referenced lawsuit in the United States District Court for the
 Central District of California naming you as a Defendant. Despite several attempts, we have
 been unable to reach you.

 Yesterday, the Court issued an Order authorizing the Bureau to serve you by email.
 Accordingly, please find attached: (1) a copy of the Complaint, (2) a copy of the Summons,
 and (3) a copy of the Order dated June 3, 2020. This email constitutes service.

 As explained in the summons, under the Federal Rules of Civil Procedure, you must answer
 or otherwise respond to the Complaint within 21 days. If you do not, the Bureau may seek
 an entry of default against you and ultimately may seek a default judgment against you.

 If you have any questions, please contact me at 202-257-2068 or Colin Reardon at 202-
 570-6740.

 Sincerely,

 E. Vanessa Assae-Bille
 Senior Litigation Counsel
 Office of Enforcement
 Consumer Financial Protection Bureau (CFPB)
 Elisabeth.Assae-Bille@cfpb.gov
 consumerfinance.gov

 Confidentiality Notice: If you received this email by mistake, you should notify the sender of the mistake and delete the
 e-mail and any attachments. An inadvertent disclosure is not intended to waive any privileges.
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1    E. VANESSA ASSAE-BILLE (NY Bar #5165501)
     (Pro hac vice application pending)
2    E-mail: elisabeth.assae-bille@cfpb.gov
     Phone: (202) 435-7688
3    COLIN REARDON (NY Bar #4945655)
     (Pro hac vice application pending)
4    E-mail: colin.reardon@cfpb.gov
     Phone: (202) 435-9668
5    1700 G Street, NW
     Washington, D.C. 20552
6    Fax: (202) 435-5471
7    LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
     E-mail: leanne.hartmann@cfpb.gov
8    Phone: (415) 844-9787
     301 Howard St., Suite 1200
9    San Francisco, CA 94105
     Fax: (415) 844-9788
10
     Attorneys for Plaintiff Bureau of Consumer Financial Protection
11
12                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
13
14   Bureau of Consumer Financial Protection, )
                                                 ) Case No.:
15                       Plaintiff,              )
                                                 ) COMPLAINT
16                 vs.                           )
                                                 )
17   Chou Team Realty, LLC f/k/a Chou Team )
     Realty, Inc., d/b/a Monster Loans, d/b/a    )
18   MonsterLoans; Lend Tech Loans, Inc.;        )
     Docu Prep Center, Inc., d/b/a DocuPrep      )
19   Center, d/b/a Certified Document Center; )
     Document Preparation Services, LP, d/b/a )
20   DocuPrep Center, d/b/a Certified            )
     Document Center; Certified Doc Prep, Inc.; )
21   Certified Doc Prep Services, LP; Assure )
     Direct Services, Inc.; Assure Direct        )
22   Services, LP; Direct Document Solutions, )
     Inc.; Direct Document Solutions, LP;        )
23   Secure Preparation Services, Inc.; Secure )
     Preparation Services, LP; Docs Done         )
24   Right, Inc.; Docs Done Right, LP; Bilal     )
     Abdelfattah, a/k/a Belal Abdelfattah, a/k/a )
25   Bill Abdel; Robert Hoose; Eduardo “Ed” )
     Martinez; Jawad Nesheiwat; Frank            )
26   Anthony Sebreros; and David Sklar,          )
                                                 )
27                       Defendants,             )
28
                                       COMPLAINT
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1    Thomas “Tom” Chou; and Sean Cowell,          )
                                                  )
2                        Defendants and           )
                         Relief Defendants,       )
3                                                 )
     Kenneth Lawson; Cre8labs, Inc.; XO           )
4    Media, LLC; and TDK Enterprises,             )
     LLC,                                         )
5                                                 )
                         Relief Defendants.       )
6                                                 )
7
8                            JURISDICTION AND VENUE
9          1.     This Court has subject-matter jurisdiction over this action because
10   it is brought under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1),
11   presents a federal question, 28 U.S.C. § 1331, and is brought by an agency of
12   the United States, 28 U.S.C. § 1345.
13         2.     Venue is proper in this district because Defendants and Relief
14   Defendants are located, reside, or do business in this district. 12 U.S.C.
15   § 5564(f).
16                                  INTRODUCTION
17         3.     The Bureau of Consumer Financial Protection (Bureau) brings this
18   action to address unlawful conduct by several companies and individuals in
19   connection with providing debt-relief services to consumers with student loans.
20         4.     Between 2015 and 2017, a mortgage company known as Monster
21   Loans unlawfully obtained consumer reports from the consumer-reporting
22   agency Experian. Monster Loans provided the reports to other companies that
23   used the reports to market debt-relief services to consumers with student loans.
24   From August 2017 through at least January 2019, a sham entity known as Lend
25   Tech also unlawfully obtained consumer reports from Experian and provided
26   them to other companies, including companies that used the lists to market
27   student-loan debt-relief services.
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1          5.     In direct-mailings and in telemarketing-sales calls, certain of these
2    debt-relief companies represented to consumers that: (1) the consumers would
3    obtain lower interest rates by consolidating their federal student loans, (2) the
4    consumers would improve their credit scores by consolidating their loans, and
5    (3) the United States Department of Education (ED) would become the “new
6    servicer” on their loans. All of this was false.
7          6.     Additionally, several of these companies unlawfully charged and
8    collected their fees before consumers’ applications for loan consolidations, loan
9    repayment plans, and loan forgiveness plans were approved and before
10   consumers made payments under the altered terms of their student loans.
11         7.     The Bureau brings this action to secure injunctive relief to stop
12   Defendants’ unlawful conduct, to obtain redress for harmed consumers, to
13   obtain penalties against Defendants for their violations of Federal consumer
14   financial law, and to require Relief Defendants to disgorge profits they received
15   due to those violations.
16                                      PLAINTIFF
17         8.     The Bureau is an independent agency charged with enforcing
18   Federal consumer financial laws. 12 U.S.C. § 5491(a). The Bureau has
19   independent litigating authority, 12 U.S.C. § 5564(a)-(b), including the
20   authority to enforce prohibitions on unfair, deceptive, and abusive acts or
21   practices in the Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C.
22   §§ 5531, 5536; the Fair Credit Reporting Act, 15 U.S.C. §ௗ1681s; and the
23   Telemarketing Sales Rule (TSR), 16 C.F.R. Part 310, as it applies to persons
24   subject to the CFPA, 15 U.S.C. §§ 6102(c), 6105(d).
25         9.     The Bureau has authority to bring civil actions against persons
26   violating Federal consumer financial laws and to seek all appropriate legal and
27   equitable relief, including injunctive relief, refund of monies paid, damages,
28
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1    restitution, disgorgement, and civil money penalties. 12 U.S.C. §§ 5564(a),
2    5565(a)(2).
3                    DEFENDANTS AND RELIEF DEFENDANTS
4          10.     Chou Team Realty, Inc. was a California corporation registered on
5    July 18, 2003. Chou Team Realty, Inc. was registered and located at 3
6    Whatney, Irvine, CA 92618, and later moved to 25391 Commercentre Drive,
7    Suite 200, Lake Forest, CA 92630. In March 2018, Chou Team Realty, Inc. was
8    converted into Defendant Chou Team Realty, LLC. Chou Team Realty, LLC is
9    a California limited-liability company registered and located at 25391
10   Commercentre Drive, Suite 200, Lake Forest, CA 92630.
11         11.     Chou Team Realty, LLC is a successor to Chou Team Realty, Inc.
12         12.     Chou Team Realty, Inc. and Chou Team Realty, LLC (collectively,
13   Monster Loans) have held themselves out as doing business as Monster Loans
14   and MonsterLoans.
15         13.     Since 2014, Monster Loans has operated as a mortgage lender. It is
16   licensed in at least 30 states, including California.
17         14.     Defendant Lend Tech Loans, Inc. (Lend Tech) is a California
18   corporation registered on June 15, 2017. Lend Tech has held itself out as doing
19   business at 25391 Commercentre Drive, Suite 100, Lake Forest, CA 92630 and
20   1851 E. First St. #810, Santa Ana, CA 92705.
21         15.     Lend Tech is licensed by the California Department of Real Estate
22   and has held itself out as doing business as a mortgage-brokerage company.
23         16.     Defendant Docu Prep Center, Inc. registered as a California
24   corporation on February 3, 2015, and it has held itself out as doing business at 3
25   Whatney, Suite 100, Irvine, CA 92618.
26         17.     Defendant Document Preparation Services, LP registered as a
27   California limited partnership on October 19, 2015, and it has held itself out as
28
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1    doing business at 3 Whatney, Suite 100, Irvine, CA 92618. Docu Prep Center,
2    Inc. was the general partner of Document Preparation Services, LP
3    (collectively, Docu Prep Center).
4          18.    Docu Prep Center has held itself out as doing business as
5    DocuPrep Center and Certified Document Center.
6          19.    Defendant Certified Doc Prep, Inc. registered as a California
7    corporation on October 14, 2015, and it has held itself out as doing business at
8    1015 E. Imperial Highway, Unit C8, Brea, CA 92821.
9          20.    Defendant Certified Doc Prep Services, LP registered as a
10   California limited partnership on October 21, 2015, and it has held itself out as
11   doing business at 1015 E. Imperial Highway, Unit C8, Brea, CA 92821.
12   Certified Doc Prep, Inc. was the general partner of Certified Doc Prep Services,
13   LP (collectively, Certified Doc Prep Services).
14         21.    Defendant Assure Direct Services, Inc. registered as a California
15   corporation on August 22, 2016, and it has held itself out as doing business at
16   23785 El Toro Road, Suite 467, Lake Forest CA 92630.
17         22.    Defendant Assure Direct Services, LP registered as a California
18   corporation on August 17, 2016, and it has held itself out as doing business at 5
19   Oldfield, 2nd Floor, Irvine, CA 92618. Assure Direct Services, Inc. was the
20   general partner of Assure Direct Services, LP (collectively, Assure Direct
21   Services).
22         23.    Defendant Direct Document Solutions, Inc. registered as a
23   California corporation on January 3, 2017, and it has held itself out as doing
24   business at 23785 El Toro Road, Suite 493, Lake Forest, CA 92630.
25         24.    Defendant Direct Document Solutions, LP registered as a
26   California limited partnership on January 3, 2017, and it has held itself out as
27   doing business at 23785 El Road, Suite 493, Lake Forest, CA 92630 and 5
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1    Oldfield, 2nd Floor, Irvine, CA 92618. From January 2017 to March 2018,
2    Direct Document Solutions, Inc. was the general partner of Direct Document
3    Solutions, LP (collectively, Direct Document Solutions).
4          25.    Defendant Secure Preparation Services, Inc. registered as a
5    California corporation on January 12, 2017, and it has held itself out as doing
6    business at 2500 E. Imperial Highway, Suite 201-396, Brea, CA 92821.
7          26.    Defendant Secure Preparation Services LP registered as a
8    California limited partnership on January 12, 2017, and it has held itself out as
9    doing business at 2500 E. Imperial Highway, Suite 201-396, Brea, CA 92821
10   and 5 Oldfield, 2nd Floor, Irvine, CA 92618. From January 2017 to March 2018,
11   Secure Preparation Services, Inc., was the general partner of Secure Preparation
12   Services, LP (collectively, Secure Preparation Services).
13         27.    Defendants Docu Prep Center, Certified Doc Prep Services, Assure
14   Direct Services, Direct Document Services, and Secure Preparation Services
15   (collectively, the Student Loan Debt Relief Companies) marketed and sold
16   debt-relief services to consumers with federal student loans.
17         28.    Defendant Docs Done Right, Inc. registered as a California
18   corporation on October 22, 2015, and it has held itself out as doing business at
19   895 Dove Street, 3rd Floor, Newport Beach, CA 92660.
20         29.    Defendant Docs Done Right, LP registered as a California limited
21   partnership on March 8, 2016, and it has held itself out as doing business at 3
22   Whatney, Suite 100, Irvine, CA 92618. Docs Done Right, Inc. was the general
23   partner of Docs Done Right, LP (collectively, Docs Done Right).
24         30.    Relief Defendant TDK Enterprises, LLC registered as a California
25   limited-liability company on March 18, 2016, and it has held itself out as doing
26   business at 3 Whatney, Suite 200, Irvine, CA 92618.
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28
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1          31.    Relief Defendant Cre8labs, Inc. registered as a California
2    corporation on April 1, 2016, and it has held itself out as doing business at
3    24632 La Plata Drive, Laguna Niguel, CA 92677.
4          32.    Relief Defendant XO Media, LLC registered as a California
5    limited liability company on March 2, 2010, and it has held itself out as doing
6    business at 26500 W. Agoura Road Suite 102-595, Calabasas, CA 91302.
7          33.    Defendant and Relief Defendant Thomas “Tom” Chou was
8    Monster Loans’ president and owner between January 2015 and December
9    2017. Chou exercised substantial managerial responsibility for and control over
10   Monster Loans’ business practices.
11         34.    Chou owned limited partnership interests in each of the Student
12   Loan Debt Relief Companies. At times, Chou has held those limited partnership
13   interests through Relief Defendant TDK Enterprises, LLC. Chou is the
14   president and sole member of TDK Enterprises, LLC.
15         35.    Defendant Jawad Nesheiwat was the chief operating officer of
16   Monster Loans between January 2015 and April 2017. Nesheiwat exercised
17   substantial managerial responsibility for and control over Monster Loans’
18   business practices.
19         36.    Nesheiwat owned limited partnership interests in each of the
20   Student Loan Debt Relief Companies.
21         37.    Nesheiwat exercised substantial managerial responsibility for and
22   control over Docu Prep Center’s business practices, including its sales
23   practices, marketing practices, and fees.
24         38.    Nesheiwat participated in the conduct of the affairs of Certified
25   Doc Prep Services, Assure Direct Services, Direct Document Solutions, and
26   Secure Preparation Services, including their marketing practices.
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1          39.    Defendant and Relief Defendant Sean Cowell co-founded Monster
2    Loans and was its chief visionary officer between at least January 2015 and
3    February 2017. Cowell exercised managerial responsibility for Monster Loans
4    and participated in the conduct of its affairs.
5          40.    Cowell registered Lend Tech in June 2017, and he was its sole
6    owner until November 2017.
7          41.    Cowell owned limited-partnership interests in each of the Student
8    Loan Debt Relief Companies. At times, Cowell has held those limited-
9    partnership interests through Relief Defendant Cre8labs, Inc. Cowell is
10   Cre8labs, Inc.’s president and owner.
11         42.    Defendant David Sklar was Docu Prep Center’s chief executive
12   officer. Sklar was the part-owner of Docu Prep Center, Inc. and owned a
13   limited-partnership interest in Document Preparation Services LP. Sklar
14   exercised substantial managerial responsibility for and control over Docu Prep
15   Center’s business practices, including its sales practices, marketing practices,
16   and fees.
17         43.    Defendant Robert Hoose was Docu Prep Center’s chief operating
18   officer. Hoose was the part-owner of Docu Prep Center, Inc. and owned a
19   limited-partnership interest in Document Preparation Services, LP. Hoose
20   exercised substantial managerial responsibility for and control over Docu Prep
21   Center’s business practices, including its sales practices, marketing practices,
22   and fees.
23         44.    Defendant Frank Anthony Sebreros was the president of Assure
24   Direct Services. Sebreros owned Assure Direct Services, Inc. and he owned a
25   limited-partnership interest in Assure Direct Services, LP. Sebreros exercised
26   substantial managerial responsibility for and control over Assure Direct
27
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                                          COMPLAINT
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1    Services’ business practices, including its sales practices, marketing practices,
2    and fees.
3          45.    Sebreros was identified as a manager of Lend Tech in the
4    company’s application to Experian in June 2017.
5          46.    Defendant Bilal Abdelfattah a/k/a Belal Abdelfattah a/k/a Bill
6    Abdel (Abdel) was a marketing manager at Monster Loans in 2015 and 2016.
7          47.    Abdel was a marketing manager at Docu Prep Center and was an
8    employee of Assure Direct Services.
9          48.    Abdel was identified as a manager of Lend Tech in the company’s
10   application to Experian in June 2017.
11         49.    Defendant Eduardo “Ed” Martinez is the president of Docs Done
12   Right. Martinez exercised substantial managerial responsibility for and control
13   over Docs Done Right’s business practices, including its assistance in the
14   charging of fees to consumers.
15         50.    Martinez represented that he was a manager or employee of Lend
16   Tech in communications with Experian in 2017 and 2018.
17         51.    Relief Defendant Kenneth Lawson owned limited-partnership
18   interests in each of the Student Loan Debt Relief Companies. At times, Lawson
19   has held those interests through XO Media, LLC. Lawson is the manager and
20   owner of 90 percent of XO Media, LLC.
21                                        FACTS
22                    Monster Loans’ Purchases of Prescreened Lists
23         52.    Monster Loans and Lend Tech have purchased from Experian
24   prescreened consumer reports (also known as “prescreened lists”) that
25   contained information regarding consumers with student loans, including
26   consumers’ names, addresses, number of student loans, and aggregate student
27   loan balances.
28
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1          53.    In 2015, Monster Loans applied for and received an account with
2    Experian, which enabled it to purchase prescreened lists.
3          54.    In its application, Monster Loans certified to Experian that it
4    would use prescreened lists to make firm offers of credit for mortgage loans.
5          55.    During and after the enrollment process, Monster Loans also
6    represented to Experian that it would use prescreened lists to market its
7    mortgage products.
8          56.    Monster Loans did not disclose to Experian that prescreened lists
9    would be provided to other companies and used to market debt-relief services.
10         57.    Between at least December 2015 and May 2017, Monster Loans
11   primarily used its account with Experian to obtain prescreened lists for use by
12   other companies that marketed student-loan debt-relief services, including the
13   Student Loan Debt Relief Companies.
14         58.    In total, Monster Loans purchased prescreened lists containing
15   information about more than 7 million consumers with student loans.
16         59.    The prescreened lists that Monster Loans purchased were used to
17   market debt-relief services, and not to make firm offers of credit or insurance.
18         60.    Nesheiwat oversaw Monster Loans’ purchases of prescreened lists
19   from Experian for use by the Student Loan Debt Relief Companies in their
20   direct mailings.
21         61.    Several other officers and employees of Monster Loans, including
22   Chou, Cowell, and Abdel, were aware of and participated in the company’s
23   efforts to purchase prescreened lists for the Student Loan Debt Relief
24   Companies through the company’s account with Experian.
25         62.    Sklar and Hoose obtained prescreened lists through Monster
26   Loans’ account with Experian and used the lists to market Docu Prep Center’s
27   student-loan debt-relief services.
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1          63.    In or around May 2017, Monster Loans stopped purchasing
2    prescreened lists for the Student Loan Debt Relief Companies through its
3    account with Experian.
4                     Lend Tech’s Purchases of Prescreened Lists
5          64.    In June 2017, Cowell registered Lend Tech as a purported
6    mortgage-brokerage company.
7          65.    In fact, Lend Tech is a sham entity that has only ever been used to
8    obtain prescreened lists from Experian.
9          66.    Lend Tech’s application to Experian certified that it would use
10   prescreened lists to make firm offers of credit for mortgage loans.
11         67.    Lend Tech did not disclose to Experian that the prescreened lists
12   would be provided to other companies and used for the purpose of marketing
13   debt-relief services.
14         68.    Monster Loans helped Lend Tech satisfy Experian’s due-diligence
15   review for new applicants so that Lend Tech could obtain an Experian account.
16   For example, Monster Loans purported to provide Lend Tech office space
17   under a sublease agreement, and also provided an approval letter agreeing to
18   fund the loans that Lend Tech was purportedly going to broker.
19         69.    During August and September 2017, Lend Tech used its account
20   with Experian to order prescreened lists containing information regarding more
21   than 1.5 million consumers with student loans for the Student Loan Debt Relief
22   Companies.
23         70.    Cowell, Abdel, Sebreros, and Chou were aware of and participated
24   in Lend Tech’s efforts to purchase prescreened lists for the Student Loan Debt
25   Relief Companies during August and September 2017.
26         71.    In November 2017, Cowell transferred ownership of Lend Tech to
27   a friend of Martinez named Sergio Loza.
28
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1           72.    At the time of the transfer, Lend Tech had no meaningful assets
2    other than the account with Experian.
3           73.    Between November 2017 and at least January 2019, Abdel,
4    Sebreros, and Martinez controlled Lend Tech’s Experian account.
5           74.    During that period, Lend Tech obtained prescreened lists
6    containing information regarding more than 11 million consumers.
7           75.    Lend Tech continued representing to Experian that it would use the
8    prescreened lists for its own marketing of mortgage loans.
9           76.    In fact, Lend Tech has never used the prescreened lists to market
10   mortgage loans.
11          77.    Martinez, Sebreros, and Abdel resold the prescreened lists to
12   numerous other companies, including companies offering student-loan debt-
13   relief services.
14          78.    Martinez, Sebreros, and Abdel also used the prescreened lists to
15   market student-loan debt-relief services through new companies created during
16   or after September 2017.
17          79.    The student-loan debt-relief companies that received prescreened
18   lists purchased by Lend Tech between November 2017 and January 2019 did
19   not use the lists to make firm offers of credit or insurance.
20                Student Loan Consolidations, Repayment Programs,
21                              and Forgiveness Programs
22          80.    ED offers several federal student-loan repayment and forgiveness
23   programs. Some programs potentially offer lower monthly loan payments.
24   Some allow consumers to obtain loan forgiveness.
25          81.    These programs are administered through third-party student-loan
26   servicers that handle the billing and other services on federal student loans.
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1          82.    To access certain repayment and forgiveness programs, consumers
2    must first consolidate (i.e., combine) multiple federal student loans into one
3    loan. Consolidating results in, among other things, a single monthly payment
4    instead of multiple monthly payments.
5          83.    Following consolidation or enrollment in a new repayment or
6    forgiveness program, the consumer’s loan continues to be serviced by a third-
7    party student-loan servicer.
8          The Student Loan Debt Relief Companies and Docs Done Right
9          84.    The Student Loan Debt Relief Companies each offered, in
10   exchange for a fee, to assist consumers with consolidating their federal student
11   loans and with choosing between and enrolling in repayment and forgiveness
12   programs offered by ED. The Student Loan Debt Relief Companies did not
13   themselves offer or extend credit.
14         85.    The Student Loan Debt Relief Companies primarily marketed their
15   debt-relief services through direct mail.
16         86.    When consumers called in response to the direct-mail solicitations,
17   sales representatives purported to advise consumers about their eligibility for
18   and the potential benefits of consolidating their federal student loans and
19   enrolling in ED’s repayment and forgiveness programs.
20         87.    After Docs Done Right was created in late 2015, its employees
21   participated in a portion of the telemarketing sales call regarding consumers’
22   understanding of the services.
23         88.    Following enrollment, Docs Done Right handled communications
24   with consumers concerning the debt-relief services, the payment of fees, and
25   consumer complaints. Docs Done Right posed as the relevant Student Loan
26   Debt Relief Company in those communications. Docs Done Right also handled
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1    the preparation and submission of consumers’ applications to consolidate their
2    federal student loans and enroll in ED’s repayment and forgiveness programs.
3                    Misrepresentations about Lower Interest Rates
4          89.    In direct-mail solicitations and in sales calls, the Student Loan
5    Debt Relief Companies represented that consumers could obtain a lower
6    interest rate by consolidating their loans.
7          90.    When a federal student loan is consolidated, the consolidated loan
8    has a fixed interest rate for the life of the loan. The fixed rate is the weighted
9    average of the interest rates on the consolidated loans, rounded up to the nearest
10   one-eighth of one percent.
11         91.    As a result, after consolidation, the consumer’s new loan has either
12   the same effective interest rate as the prior loans or a higher rate.
13         92.    The Student Loan Debt Relief Companies’ representations that
14   consolidation would lead to a lower interest rate were therefore false.
15         93.    Consumers with federal student loans are generally eligible for an
16   interest rate reduction if they set up automatic monthly payments.
17         94.    At times between 2015 and 2017, the Student Loan Debt Relief
18   Companies implied that consumers were required to consolidate their loans to
19   be eligible for the interest-rate reduction associated with setting up automatic
20   monthly payments.
21         95.    But consumers can receive the interest-rate reduction associated
22   with setting up automatic monthly payments regardless of whether they
23   consolidate their loans.
24                 Misrepresentations about Improved Credit Scores
25         96.    Between 2015 and 2017, the Student Loan Debt Relief Companies
26   represented during sales calls that consolidating federal student loans would
27   improve consumers’ credit scores.
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1          97.    In many instances, consolidating is not likely to improve a
2    consumer’s credit score, such as when the consumer is current on their student
3    loan payments.
4          98.    By presenting themselves as experts on student loans and making
5    representations about credit score changes, the Student Loan Debt Relief
6    Companies implied that the Companies had a reasonable basis to represent that
7    consolidation would increase consumers’ credit scores.
8          99.    Prior to making such representations, the Student Loan Debt Relief
9    Companies had no reason to believe that consumers’ credit scores would
10   improve following consolidation, and the Companies did not attempt to
11   measure thereafter whether consumers’ credit scores did in fact improve
12   following consolidation.
13    Misrepresentations that ED Would Become Consumers’ “New Servicer”
14         100. At times between 2015 and 2017, Docu Prep Center represented to
15   consumers that, after they consolidated their loans, ED would become their
16   “new servicer.”
17         101. Docu Prep Center also represented that student loan servicers did
18   not act in consumers’ best interests and implied that consumers would not have
19   to interact with third-party student loan servicers after consolidating their loans.
20         102. In fact, ED does not become the “new servicer” on loans that are
21   consolidated. ED contracts with third-party student-loan servicers that handle
22   federal student loans both before and after the loans are consolidated. Loan
23   consolidation does not enable consumers to avoid interacting with third-party
24   servicers.
25                              Collection of Advance Fees
26         103. The Student Loan Debt Relief Companies charged consumers a fee
27   that ranged between $699 and $999.
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1             104. The Student Loan Debt Relief Companies charged and received
2    fees before consumers’ applications for loan consolidations, loan repayment
3    plans, and loan forgiveness plans were approved, and before consumers had
4    made the first payments under the altered terms of their student loans.
5             105. Docs Done Right participated in the charging of fees and received
6    its portion of the fees before consumers’ applications for loan consolidations,
7    loan repayment plans, and loan forgiveness plans were approved, and before
8    consumers had made the first payments under the altered terms of their student
9    loans.
10            106. Collectively, the Student Loan Debt Relief Companies and Docs
11   Done Right collected more than $15 million in illegal advance fees from
12   thousands of consumers nationwide between 2015 and at least 2017.
13             Role of Individual Defendants in Deceptive Representations
14                            and Charging of Advance Fees
15            107. Nesheiwat, Sklar, and Hoose each participated directly in Docu
16   Prep Center’s making of the representations described in this Complaint or had
17   the authority to control them, and each had knowledge of the representations,
18   was recklessly indifferent to the truth or falsity of the misrepresentations, or
19   was aware of a high probability of fraud along with an intentional avoidance of
20   the truth.
21            108. Nesheiwat, Sklar, and Hoose each participated directly in the
22   charging of fees by Docu Prep Center or had the authority to control its
23   charging of fees, and each had knowledge of Docu Prep Center’s fee-charging
24   practices or was recklessly indifferent to those practices.
25            109. Sebreros participated directly in Assure Direct Services’ making of
26   the representations described in this Complaint or had the authority to control
27   them, and had knowledge of the representations, was recklessly indifferent to
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1    the truth or falsity of the misrepresentations, or was aware of a high probability
2    of fraud along with an intentional avoidance of the truth.
3          110. Sebreros participated directly in the charging of fees by Assure
4    Direct Services or had the authority to control its charging of fees, and had
5    knowledge of Assure Direct Services’ fee-charging practices or was recklessly
6    indifferent to those practices.
7          111. Martinez participated directly in the charging of fees by the
8    Student Loan Debt Relief Companies and Docs Done Right or had the authority
9    to control the charging of fees, and had knowledge of the Student Loan Debt
10   Relief Companies’ and Docs Done Right’s fee-charging practices or was
11   recklessly indifferent to those practices.
12                              LEGAL BACKGROUND
13                                         FCRA
14         112. FCRA defines a “consumer report” to include:
15                any written, oral, or other communication of any information
16                by a consumer reporting agency bearing on a consumer’s
17                credit worthiness, credit standing, credit capacity, character,
18                general reputation, personal characteristics, or mode of living
19                which is used or expected to be used or collected in whole or
20                in part for the purpose of serving as a factor in establishing
21                the consumer’s eligibility for (A) credit or insurance to be
22                used primarily for personal, family, or household purposes;
23                (B) employment purposes; or (C) any other purpose
24                authorized under section 604 [§ 1681b].
25   15 U.S.C. § 1681a(d).
26         113. Monster Loans and Lend Tech purchased from Experian
27   prescreened lists containing information regarding consumers with student
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1    loans, including consumers’ names, addresses, number of student loans, and
2    aggregate student loan balances.
3              114. Information such as a consumer’s number of student loans and
4    their aggregate balance bears on, among other things, a consumer’s credit
5    worthiness and credit standing and is used or expected to be used or collected
6    for the purpose of serving as a factor in determining a consumer’s eligibility for
7    credit.
8              115. The prescreened lists that Monster Loans and Lend Tech
9    purchased from Experian are therefore “consumer reports” under § 603(d) of
10   FCRA. 15 U.S.C. § 1681a(d).
11                                        The TSR
12             116. The TSR is the implementing regulation of the Telemarketing and
13   Consumer Fraud and Abuse Prevention Act (“Telemarketing Act”), 15 U.S.C.
14   §§ 6101-6108.
15             117. The Bureau is authorized to enforce the Telemarketing Act and the
16   TSR with respect to the offering or provision of a consumer-financial product
17   or service subject to the CFPA. 15 U.S.C. § 6105(d).
18             118. The TSR defines “debt relief service” as “any program or service
19   represented, directly or by implication, to renegotiate, settle, or in any way alter
20   the terms of payment or other terms of the debt between a person and one or
21   more unsecured creditors or debt collectors, including, but not limited to, a
22   reduction in the balance, interest rate, or fees owed by a person to an unsecured
23   creditor or debt collector.” 16 C.F.R. § 310.2(o).
24             119. The TSR defines a “seller” as “any person who, in connection with
25   a telemarketing transaction, provides, offers to provide, or arranges for others to
26   provide goods or services to the customer in exchange for consideration.” 16
27   C.F.R. § 310.2(dd).
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1          120. The TSR defines “telemarketer” as “any person who, in connection
2    with telemarketing, initiates or receives telephone calls to or from a customer.”
3    16 C.F.R. § 310.2(ff).
4          121. The TSR defines “telemarketing” in relevant part as “a plan,
5    program, or campaign which is conducted to induce the purchase of goods or
6    services . . . by use of one or more telephones and which involves more than
7    one interstate telephone call.” 16 C.F.R. § 310.2(gg).
8          122. The Student Loan Debt Relief Companies offered services to
9    renegotiate, settle, or alter the terms of payments of consumers’ federal student
10   loans involving the preparation and submission of requests for loan
11   consolidations, loan forgiveness, and loan-repayment plans to consumers’
12   student-loan servicers.
13         123. The Student Loan Debt Relief Companies offered and provided
14   these services to consumers nationwide using the telephones and more than one
15   interstate telephone call.
16         124. The Student Loan Debt Relief Companies offered and provided
17   these services to consumers in exchange for payment of fees in connection with
18   a telemarketing transaction.
19         125. The Student Loan Debt Relief Companies are each a
20   “telemarketer” or “seller” offering a “debt relief service” under the TSR.
21         126. Docs Done Right provided services to renegotiate, settle, or alter
22   the terms of payments of consumers’ federal student loans by preparing and
23   submitting requests for loan consolidations, loan forgiveness, and loan-
24   repayment plans to consumers’ student-loan servicers, and by handling
25   communications with consumers concerning the services, payment of fees, and
26   complaints.
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1          127. Docs Done Right is a “seller” offering a “debt relief service” under
2    the TSR.
3          128. Nesheiwat, Sklar, and Hoose each arranged for Docu Prep Center
4    to provide debt-relief services to consumers in exchange for consideration.
5    Nesheiwat, Sklar, and Hoose are each “sellers” offering a “debt relief service”
6    under the TSR. 16 C.F.R. § 310.2(dd), (o).
7          129. Sebreros arranged for Assure Direct Services to provide debt-relief
8    services to consumers in exchange for consideration. Sebreros is a “seller”
9    offering a “debt relief service” under the TSR. 16 C.F.R. § 310.2(dd), (o).
10         130. Martinez arranged for Docs Done Right to provide debt-relief
11   services to consumers in exchange for consideration. Martinez is a “seller”
12   offering a “debt relief service” under the TSR. 16 C.F.R. § 310.2(dd), (o).
13                                      The CFPA
14         131. Sections 1031 and 1036(a)(1)(B) of the CFPA, 12 U.S.C. §§ 5531,
15   5536(a)(1)(B), prohibit “covered person[s]” from engaging in any “unfair,
16   deceptive, or abusive act or practice.”
17         132. A representation is deceptive under the CFPA if it is likely to
18   mislead consumers acting reasonably under the circumstances, and the
19   information is material to consumers.
20         133. The Student Loan Debt Relief Companies are each “covered
21   persons” under the CFPA because they offered or provided consumer-financial
22   products or services, including financial-advisory services such as assisting
23   consumers with debt-management or debt-settlement and modifying the terms
24   of any extension of credit. 12 U.S.C. § 5481(5), (6), (15)(A)(viii).
25         134. Docs Done Right is a “covered person” because it offered or
26   provided consumer-financial products or services, including financial-advisory
27   services such as assisting consumers with debt-management or debt-settlement
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1    and modifying the terms of any extension of credit. 12 U.S.C. § 5481(5), (6),
2    (15)(A)(viii).
3          135. Monster Loans is a “covered person” because it offers or provides
4    consumer-financial products or services, including extending credit for
5    mortgage loans. 12 U.S.C. § 5481(5), (6), (15)(A)(i).
6          136. Monster Loans is a “service provider” because it provided the
7    material service of obtaining and providing prescreened consumer reports for
8    use in marketing to the Student Loan Debt Relief Companies in connection with
9    the Student Loan Debt Relief Companies’ offering of a consumer-financial
10   product or service. 12 U.S.C. § 5481(26).
11         137. Lend Tech is a “covered person” because it purports to offer or
12   provide consumer-financial products or services, including extending credit by
13   brokering mortgage loans. 12 U.S.C. § 5481(5), (6), (15)(A)(i).
14         138. Section 1002(25) of the CFPA defines the term “related person” to
15   mean “any director, officer, or employee charged with managerial responsibility
16   for, or controlling shareholder of,” or “any . . . other person . . . who materially
17   participates in the conduct of the affairs of” a non-bank provider of a consumer-
18   financial product or service. 12 U.S.C. § 5481(25)(C). Section 1002(25) further
19   provides that a “related person” shall be “deemed to mean a covered person for
20   all purposes of any provision of Federal consumer financial law.” 12 U.S.C.
21   § 5481(25)(B).
22         139. Chou is a “related person” and “covered person” because he was
23   Monster Loans’ president and had managerial responsibility for it.
24         140. Nesheiwat is a “related person” and “covered person” because he
25   was Monster Loans’ COO and had managerial responsibility for it. Nesheiwat
26   is also a “related person” and “covered person” because he materially
27   participated in the conduct of the Student Loan Debt Relief Companies.
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1           141. Cowell is a “related person” and “covered person” because he was
2    an officer of Monster Loans and because he materially participated in the
3    conduct of the company’s affairs. Cowell is also a “related person” and
4    “covered person” because he was Lend Tech’s owner and had managerial
5    responsibility for it.
6           142. Sklar is a “related person” and “covered person” because he was
7    Docu Prep Center’s CEO and had managerial responsibility for it.
8           143. Hoose is a “related person” and “covered person” because he was
9    Docu Prep Center’s COO and had managerial responsibility for it.
10          144. Sebreros is a “related person” and “covered person” because he
11   was president of Assure Direct Services and had managerial responsibility for
12   it. He is also a “related person” and “covered person” because he had
13   managerial responsibility for Lend Tech.
14          145. Abdel is a “related person” and “covered person” because he was a
15   marketing manager of Monster Loans and materially participated in the conduct
16   of its affairs. He is also a “related person” and “covered person” because he was
17   a marketing manager of Docu Prep Center and materially participated in the
18   conduct of its affairs. He is also a “related person” and “covered person”
19   because he was an employee of Assure Direct Services and materially
20   participated in the conduct of its affairs. He is also a “related person” and
21   “covered person” because he had managerial responsibility for Lend Tech.
22          146. Martinez is a “related person” and “covered person” because he
23   was president of Docs Done Right and had managerial responsibility for it. He
24   is also a “related person” and “covered person” because he had managerial
25   responsibility for Lend Tech.
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1                                       COUNT I
2                                  Violations of FCRA
3    (Against Student Loan Debt Relief Companies, Monster Loans, Lend Tech,
4      Chou, Nesheiwat, Cowell, Abdel, Sebreros, Martinez, Sklar, and Hoose)
5          147. The allegations in Paragraphs 1 to 146 are incorporated here by
6    reference.
7          148. FCRA prohibits persons from using or obtaining a consumer report
8    unless the person obtains it for a permissible purpose and the purpose is
9    certified by the prospective user of the report. 15 U.S.C. § 1681b(f).
10         149. FCRA provides that using or obtaining a prescreened consumer
11   report to make “a firm offer of credit or insurance” is a permissible purpose. 15
12   U.S.C. § 1681b(c). A “firm offer” is an offer that will be honored (subject to
13   certain exceptions) if the consumer continues to meet the pre-selected criteria
14   used to select them for the offer. 15 U.S.C. § 1681a(l).
15         150. Using or obtaining prescreened lists to send solicitations marketing
16   debt-relief services is not a permissible purpose under FCRA.
17         151. Monster Loans’ and Lend Tech’s certifications to Experian did not
18   state that the prescreened lists were being obtained for use by other companies
19   or for the purpose of sending solicitations marketing debt-relief services.
20         152. The Student Loan Debt Relief Companies, Monster Loans, Lend
21   Tech, Chou, Nesheiwat, Cowell, Abdel, Sebreros, Martinez, Sklar, and Hoose
22   have, directly or indirectly, used or obtained consumer reports without a
23   permissible purpose, and without a certification of the purpose by the
24   prospective user of the report, in violation of FCRA. 15 U.S.C. § 1681b(f).
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1                                       COUNT II
2                         Advance Fees in Violation of the TSR
3         (Against Student Loan Debt Relief Companies, Docs Done Right,
4                  Nesheiwat, Sklar, Hoose, Sebreros, and Martinez)
5          153. The allegations in Paragraphs 1 to 146 are incorporated here by
6    reference.
7          154. Under the TSR, it is an abusive act or practice for a seller or
8    telemarketer to request or receive payment of any fee or consideration for any
9    debt-relief services unless and until (A) the seller or telemarketer has
10   renegotiated, settled, reduced, or otherwise altered the terms of at least one debt
11   pursuant to a settlement agreement, debt-management plan, or other such valid
12   contractual agreement executed by the customer; and (B) the customer has
13   made at least one payment pursuant to that settlement agreement, debt-
14   management plan, or other valid contractual agreement between the customer
15   and the creditor or debt collector. 16 C.F.R. § 310.4(a)(5)(i)(A)-(B).
16         155. In the course of providing, offering to provide, or arranging for
17   others to provide debt-relief services, the Student Loan Debt Relief Companies,
18   Docs Done Right, Nesheiwat, Sklar, Hoose, Sebreros, and Martinez charged
19   and received fees before consumers’ applications for loan consolidations, loan-
20   repayment plans, and loan-forgiveness plans were approved, and before
21   consumers had made the first payments under the altered terms of their student
22   loans, in violation of the TSR. 16 C.F.R. § 310.4(a)(5)(i)(A)-(B).
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1                                         COUNT III
2        Misrepresentations in Violation of the TSR – Lower Interest Rates
3                    (Against Student Loan Debt Relief Companies,
4                         Nesheiwat, Sklar, Hoose, and Sebreros)
5          156. The allegations in Paragraphs 1 to 146 are incorporated here by
6    reference.
7          157. It is a deceptive practice under the TSR for a seller or telemarketer
8    to misrepresent any material aspect of a debt-relief service, including the
9    amount of money or the percentage of the debt amount that a consumer may
10   save. 16 C.F.R. § 310.3(a)(2)(x).
11         158. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
12   Hoose, and Sebreros misrepresented, directly or indirectly, expressly or by
13   implication, that:
14         a.     consolidating would cause consumers to obtain a lower interest
15   rate on their student loans; and
16         b.     consumers were required to consolidate their student loans to
17   obtain an interest-rate deduction.
18         159. The acts or practices of the Student Loan Debt Relief Companies,
19   Nesheiwat, Sklar, Hoose, and Sebreros, as set forth in Paragraph 158, are
20   deceptive acts or practices that violate the TSR, 16 C.F.R. 310.3(a)(2)(x).
21                                        COUNT IV
22      Misrepresentations in Violation of the TSR – Improved Credit Scores
23                   (Against Student Loan Debt Relief Companies,
24                        Nesheiwat, Sklar, Hoose, and Sebreros)
25         160. The allegations in Paragraphs 1 to 146 are incorporated here by
26   reference.
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1          161. It is a deceptive practice under the TSR for a seller or telemarketer
2    to misrepresent any material aspect of a debt-relief service, including the effect
3    of the service on a consumer’s creditworthiness. 16 C.F.R. § 310.3(a)(2)(x).
4          162. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
5    Hoose, and Sebreros misrepresented, directly or indirectly, expressly or by
6    implication, that consolidating student loans would improve consumers’ credit
7    scores.
8          163. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
9    Hoose, and Sebreros misrepresented, directly or indirectly, expressly or by
10   implication, that they had a reasonable basis for representing that consolidating
11   student loans would improve consumers’ credit scores.
12         164. The acts or practices of the Student Loan Debt Relief Companies,
13   Nesheiwat, Sklar, Hoose, and Sebreros, as set forth in Paragraphs 162 and 163,
14   are deceptive acts or practices that violate the TSR, 16 C.F.R. § 310.3(a)(2)(x).
15                                      COUNT V
16             Misrepresentations in Violation of the TSR – New Servicer
17             (Against Docu Prep Center, Nesheiwat, Sklar, and Hoose)
18         165. The allegations in Paragraphs 1 to 146 are incorporated here by
19   reference.
20         166. It is a deceptive practice under the TSR for a seller or telemarketer
21   to misrepresent any material aspect of a debt-relief service. 16 C.F.R.
22   § 310.3(a)(2)(x).
23         167. Docu Prep Center, Nesheiwat, Sklar, and Hoose misrepresented,
24   directly or indirectly, expressly or by implication, that consolidating would
25   result in ED becoming consumers’ “new servicer” and that consolidating would
26   enable consumers to avoid interacting with third-party student-loan servicers.
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1             168. The acts or practices of Docu Prep Center, Nesheiwat, Sklar, and
2    Hoose, as set forth in Paragraph 167, are deceptive acts or practices that violate
3    the TSR. 16 C.F.R. § 310.3(a)(2)(x).
4                                       COUNT VI
5                     Substantial Assistance in Violation of the TSR
6                         (Against Monster Loans and Nesheiwat)
7             169. The allegations in Paragraphs 1 to 146 are incorporated here by
8    reference.
9             170. The TSR prohibits any person from providing substantial
10   assistance or support to any seller or telemarketer when that person knows or
11   consciously avoids knowing that the seller or telemarketer is engaged in any act
12   or practice that constitutes deceptive or abusive conduct under the Rule. 16
13   C.F.R. § 310.3(b).
14            171. Monster Loans and Nesheiwat knew, or consciously avoided
15   knowing, the material misrepresentations that the Student Loan Debt Relief
16   Companies made to consumers.
17            172. Monster Loans and Nesheiwat knew, or consciously avoided
18   knowing, that the Student Loan Debt Relief Companies charged and received
19   fees from consumers before consumers’ applications for loan consolidations,
20   loan-repayment plans, and loan-forgiveness plans were approved, and before
21   consumers had made the first payments under the altered terms of their student
22   loans.
23            173. Monster Loans and Nesheiwat provided substantial assistance to
24   the Student Loan Debt Relief Companies in their violations of the TSR. 16
25   C.F.R. § 310.3(b).
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                                          COMPLAINT
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1                                       COUNT VII
2               Deception in Violation of the CFPA – Lower Interest Rates
3                    (Against Student Loan Debt Relief Companies,
4                         Nesheiwat, Sklar, Hoose, and Sebreros)
5          174. The allegations in Paragraphs 1 to 146 are incorporated here by
6    reference.
7          175. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
8    Hoose, and Sebreros misrepresented, directly or indirectly, expressly or by
9    implication, that:
10         a.      consolidating would cause consumers to obtain a lower interest
11   rate on their student loans; and
12         b.      consumers were required to consolidate to obtain an interest-rate
13   deduction.
14         176. These representations were material and likely to mislead
15   consumers acting reasonably under the circumstances.
16         177. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
17   Hoose, and Sebreros have therefore engaged in deceptive acts or practices in
18   violation of §§ 1031 and 1036 of the CFPA, 12 U.S.C. §§ 5531, 5536.
19                                      COUNT VIII
20          Deception in Violation of the CFPA – Improved Credit Scores
21                   (Against Student Loan Debt Relief Companies,
22                        Nesheiwat, Sklar, Hoose, and Sebreros)
23         178. The allegations in Paragraphs 1 to 146 are incorporated here by
24   reference.
25         179. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
26   Hoose, and Sebreros misrepresented, directly or indirectly, expressly or by
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                                         COMPLAINT
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1    implication, that consolidating student loans would improve consumers’ credit
2    scores.
3          180. These representations were material and likely to mislead
4    consumers acting reasonably under the circumstances.
5          181. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
6    Hoose, and Sebreros misrepresented, directly or indirectly, expressly or by
7    implication, that they had a reasonable basis for representing that consolidating
8    student loans would improve consumers’ credit scores.
9          182. The Student Loan Debt Relief Companies, Nesheiwat, Sklar,
10   Hoose, and Sebreros have therefore engaged in deceptive acts or practices in
11   violation of §§ 1031 and 1036 of the CFPA, 12 U.S.C. §§ 5531, 5536.
12                                     COUNT IX
13                Deception in Violation of the CFPA – New Servicer
14             (Against Docu Prep Center, Nesheiwat, Sklar, and Hoose)
15         183. The allegations in Paragraphs 1 to 146 are incorporated here by
16   reference.
17         184. Docu Prep Center, Nesheiwat, Sklar, and Hoose misrepresented,
18   directly or indirectly, expressly or by implication, that consolidating would
19   result in ED becoming consumers’ “new servicer,” and that consolidating
20   would enable consumers to avoid interacting with third-party student-loan
21   servicers.
22         185. These representations were material and likely to mislead
23   consumers acting reasonably under the circumstances.
24         186. Docu Prep Center, Nesheiwat, Sklar, and Hoose have therefore
25   engaged in deceptive acts or practices in violation of §§ 1031 and 1036 of the
26   CFPA, 12 U.S.C. §§ 5531, 5536.
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                                         COMPLAINT
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1                                       COUNT X
2                    Substantial Assistance in Violation of the CFPA
3                        (Against Monster Loans and Nesheiwat)
4          187. The allegations in Paragraphs 1 to 146 are incorporated here by
5    reference.
6          188. Section 1036(a)(3) of the CFPA prohibits any person from
7    “knowingly or recklessly provid[ing] substantial assistance to a covered person
8    or service provider in violation of the provisions of section 1031” and states that
9    “the provider of such substantial assistance shall be deemed to be in violation of
10   that section to the same extent as the person to whom such assistance is
11   provided.” 12 U.S.C. § 5536(a)(3).
12         189. Monster Loans and Nesheiwat knew, or recklessly avoided
13   knowing, the material misrepresentations that the Student Loan Debt Relief
14   Companies made to consumers.
15         190. Monster Loans and Nesheiwat provided substantial assistance to
16   the Student Loan Debt Relief Companies in their deceptive acts or practices, in
17   violation of § 1036(a)(3) of the CFPA. 12 U.S.C. § 5563(a)(3).
18                                      COUNT XI
19                CFPA Violations Based on Violations of FCRA and TSR
20         (Against Student Loan Debt Relief Companies, Monster Loans,
21                Lend Tech, Docs Done Right, Chou, Nesheiwat, Cowell,
22                    Abdel, Sebreros, Martinez, Sklar, and Hoose)
23         191. The allegations in Paragraphs 1 to 146 are incorporated here by
24   reference.
25         192. FCRA and the Telemarketing Act are “Federal consumer financial
26   laws” under the CFPA. 12 U.S.C. § 5481(12)(F), (14); 15 U.S.C. § 6105(d).
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1          193. The violations of FCRA committed by the Student Loan Debt
2    Relief Companies, Monster Loans, Lend Tech, Chou, Nesheiwat, Cowell,
3    Abdel, Sebreros, Martinez, Sklar, and Hoose are deemed to be violations of the
4    CFPA. 15 U.S.C. § 1681s(d).
5          194. Because the Student Loan Debt Relief Companies, Monster Loans,
6    Lend Tech, Chou, Nesheiwat, Cowell, Abdel, Sebreros, Martinez, Sklar, and
7    Hoose are “covered persons” who violated FCRA by, directly or indirectly,
8    using or obtaining consumer reports without a permissible purpose and without
9    a certification of the purpose by the prospective user of the report, they violated
10   § 1036(a)(1)(A) of the CFPA. 12 U.S.C. § 5536(a)(1)(A).
11         195. The violations of the TSR committed by the Student Loan Debt
12   Relief Companies, Docs Done Right, Nesheiwat, Sklar, Hoose, Sebreros, and
13   Martinez are treated as violations of a rule under § 1031 of the CFPA. 15
14   U.S.C. § 6102(c).
15         196. Because the Student Loan Debt Relief Companies, Docs Done
16   Right, Nesheiwat, Sklar, Hoose, Sebreros, and Martinez are “covered persons”
17   who violated the TSR by charging and receiving illegal advance fees from
18   consumers, they violated § 1036(a)(1)(A) of the CFPA. 12 U.S.C.
19   § 5536(a)(1)(A).
20         197. Because the Student Loan Debt Relief Companies, Nesheiwat,
21   Sklar, Hoose, and Sebreros are “covered persons” who violated the TSR by
22   engaging in deceptive conduct, they violated § 1036(a)(1)(A) of the CFPA. 12
23   U.S.C. § 5536(a)(1)(A).
24         198. Because Monster Loans and Nesheiwat are “covered persons” who
25   substantially assisted violations of the TSR, they violated § 1036(a)(1)(A) of
26   the CFPA. 12 U.S.C. § 5536(a)(1)(A).
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1                                        COUNT XII
2                                     Relief Defendants
3          199. The allegations in Paragraphs 1 to 146 are incorporated here by
4    reference.
5          200. Chou, Cowell, Lawson, TDK Enterprises, LLC, Cre8labs, Inc., and
6    XO Media, LLC have received, directly or indirectly, distributions of profits
7    from the Student Loan Debt Relief Companies that are traceable to funds
8    obtained from consumers through the violations of the CFPA and TSR
9    described herein. They have no legitimate claim to such funds and would be
10   unjustly enriched if not required to disgorge the funds or the value of the
11   benefits they received.
12                                DEMAND FOR RELIEF
13         The Bureau requests that the Court:
14         a.       permanently enjoin Defendants from committing future violations
15   of the FCRA, TSR, and CFPA and enter such other injunctive relief as
16   appropriate;
17         b.       permanently enjoin Defendants from advertising, marketing,
18   promoting, offering for sale, selling, or providing any form of assistance to any
19   debt-relief service;
20         c.       grant additional injunctive relief as the Court may deem to be just
21   and proper;
22         d.       order Monster Loans, the Student Loan Debt Relief Companies,
23   Docs Done Right, Nesheiwat, Sklar, Hoose, Sebreros, and Martinez to pay
24   redress to consumers harmed by their unlawful conduct;
25         e.       award damages and other monetary relief against Defendants;
26         f.       impose civil money penalties against Defendants;
27         g.       order disgorgement of ill-gotten funds against Relief Defendants;
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1          h.     order the rescission or reformation of contracts where necessary to
2    redress injury to consumers; and
3          i.     award the Bureau the costs of bringing this action, as well as such
4    other and additional relief as the Court may determine to be just and proper.
5
6
7    Dated January 9, 2020                  Respectfully Submitted,
8
                                            /s/ Leanne E. Hartmann
9                                           Leanne E. Hartmann
                                            E. Vanessa Assae-Bille (PHV pending)
10                                          Colin Reardon (PHV pending)
11                                          Bureau of Consumer Financial Protection
                                            1700 G Street, NW
12                                          Washington, D.C. 20552
13                                          Attorneys for Plaintiff Bureau of
                                            Consumer Financial Protection
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

        Bureau of Consumer Financial Protection                      )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 8:20ícví00043-JVS-ADS
                                                                     )
        Chou Team Realty, LLC; and see attached                      )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Frank Anthony Sebreros
                                           401 Rockefeller
                                           Irvine, CA 92612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Bureau of Consumer Financial Protection
                                           Office of Enforcement
                                           1700 G Street, NW
                                           Washington, D.C. 20552
                                           ATTN: E. Vanessa Assae-Bille
                                           Email: elisabeth.assae-bille@cfpb.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT


Date:      January 15, 2019                                                         /s/ E. Synagogue
                                                                                         Signature of Clerk or Deputy Clerk
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  1   E. VANESSA ASSAE-BILLE (NY Bar #5165501)
      (Pro hac vice application pending)
  2   E-mail: elisabeth.assae-bille@cfpb.gov
      Phone: (202) 435-7688
  3   COLIN REARDON (NY Bar #4945655)
      (Pro hac vice application pending)
  4   E-mail: colin.reardon@cfpb.gov
      Phone: (202) 435-9668
  5   1700 G Street, NW
      Washington, D.C. 20552
  6   Fax: (202) 435-5471
  7   LEANNE E. HARTMANN (CA Bar #264787) – Local Counsel
      E-mail: leanne.hartmann@cfpb.gov
  8   Phone: (415) 844-9787
      301 Howard St., Suite 1200
  9   San Francisco, CA 94105
      Fax: (415) 844-9788
 10
      Attorneys for Plaintiff Bureau of Consumer Financial Protection
 11
 12                     UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
 13
 14   Bureau of Consumer Financial Protection, )
                                                  ) Case No.:
 15                       Plaintiff,              )
                                                  ) COMPLAINT
 16                 vs.                           )
                                                  )
 17   Chou Team Realty, LLC f/k/a Chou Team )
      Realty, Inc., d/b/a Monster Loans, d/b/a    )
 18   MonsterLoans; Lend Tech Loans, Inc.;        )
      Docu Prep Center, Inc., d/b/a DocuPrep      )
 19   Center, d/b/a Certified Document Center; )
      Document Preparation Services, LP, d/b/a )
 20   DocuPrep Center, d/b/a Certified            )
      Document Center; Certified Doc Prep, Inc.; )
 21   Certified Doc Prep Services, LP; Assure )
      Direct Services, Inc.; Assure Direct        )
 22   Services, LP; Direct Document Solutions, )
      Inc.; Direct Document Solutions, LP;        )
 23   Secure Preparation Services, Inc.; Secure )
      Preparation Services, LP; Docs Done         )
 24   Right, Inc.; Docs Done Right, LP; Bilal     )
      Abdelfattah, a/k/a Belal Abdelfattah, a/k/a )
 25   Bill Abdel; Robert Hoose; Eduardo “Ed” )
      Martinez; Jawad Nesheiwat; Frank            )
 26   Anthony Sebreros; and David Sklar,          )
                                                  )
 27                       Defendants,             )
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  1   Thomas “Tom” Chou; and Sean Cowell,          )
                                                   )
  2                       Defendants and           )
                          Relief Defendants,       )
  3                                                )
      Kenneth Lawson; Cre8labs, Inc.; XO           )
  4   Media, LLC; and TDK Enterprises,             )
      LLC,                                         )
  5                                                )
                          Relief Defendants.       )
  6                                                )
  7
  8                           JURISDICTION AND VENUE
  9         1.     This Court has subject-matter jurisdiction over this action because
 10   it is brought under “Federal consumer financial law,” 12 U.S.C. § 5565(a)(1),
 11   presents a federal question, 28 U.S.C. § 1331, and is brought by an agency of
 12   the United States, 28 U.S.C. § 1345.
 13         2.     Venue is proper in this district because Defendants and Relief
 14   Defendants are located, reside, or do business in this district. 12 U.S.C.
 15   § 5564(f).
 16                                  INTRODUCTION
 17         3.     The Bureau of Consumer Financial Protection (Bureau) brings this
 18   action to address unlawful conduct by several companies and individuals in
 19   connection with providing debt-relief services to consumers with student loans.
 20         4.     Between 2015 and 2017, a mortgage company known as Monster
 21   Loans unlawfully obtained consumer reports from the consumer-reporting
 22   agency Experian. Monster Loans provided the reports to other companies that
 23   used the reports to market debt-relief services to consumers with student loans.
 24   From August 2017 through at least January 2019, a sham entity known as Lend
 25   Tech also unlawfully obtained consumer reports from Experian and provided
 26   them to other companies, including companies that used the lists to market
 27   student-loan debt-relief services.
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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 20-43 JVS (ADSx)                                        Date   June 3, 2020
 Title             Bureau of Consumer Financial Protection v. Chou Team Realty LLC et al


 Present: The                    James V. Selna, U.S. District Court Judge
 Honorable
                         Lisa Bredahl                                         Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           [IN CHAMBERS] Order Regarding Motion to Serve Defendants by
                        Alternative Means and to Extend Time to Serve Them

       Plaintiff Bureau of Consumer Financial Protection (“Bureau”) moves for an order
permitting it to serve Defendants Assure Direct Services, Inc. (“ADS”) and Frank
Anthony Sebreros (“Sebreros”) by alternative means and for a second extension of time
to serve them. Mot., Dkt. No. 86. The motion is unopposed.

                                                    I. BACKGROUND

      The Bureau seeks leave to serve ADS through the California Secretary of State,
and to serve Sebreros by email. See Fed. R. Civ. P. 4(e)(1); (h)(1)(A); see also Cal.
Corp. Code § 1702. And, the Bureau seeks leave to serve these defendants by June 7,
2020.

      On April 8, 2020, the Bureau filed a motion requesting an extension of time to
serve ADS, Inc. and Sebreros, which the Court granted on May 4, 2020. Dkt. No. 81.

                                             II. LEGAL STANDARD

      If a defendant is not served within 90 days after the complaint is filed, the court –
on motion or on its own after notice to the plaintiff – must dismiss the action without
prejudice against that defendant or order that service be made within a specified time.
Fed. R. Civ. P. 4(m). But if the plaintiff shows good cause for the failure, the court must
extend the time for service for an appropriate period. Id.

         Under Federal Rule of Civil Procedure 4(e)(1) and 4(h)(1)(A), domestic
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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                             Date   June 3, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC et al

corporations and individuals within a district of the United States may be served by
following the state law that governs service where the district court is located or where
service is made. In California, if a corporation’s designated agent of service of process
cannot with reasonable diligence be found at the address designated for personally
delivering the process, then a court may order service of process upon the California
Secretary of State. Cal. Corp. Code §§ 1702(a), 1702(d). Further, California law allows
a court to direct that summons be served upon individuals in a manner reasonably
calculated to give actual notice to the party to be served. Cal. Code of Civ. P. § 413.30.

                                       III. DISCUSSION

      The Court finds that an extension of time for service is appropriate under Rule
4(m). The Bureau details extensive efforts to serve Sebreros and ADS, Inc., all of which
have been unsuccessful. Mot. at 3-4. Thus, the Bureau has shown good cause for an
extension.

       Additionally, the Court finds that the Bureau’s proposed alternative means of
service are appropriate. The Bureau has been diligent in attempting to serve Sebreros and
ADS, Inc., and has shown that both cannot be served in another manner. See Ghadiri v.
Las Gueritas, et al., 2019 WL 6139923, at *3 (July 12, 2019) (reasoning that “two or
three attempts at personal service at a proper place should fully satisfy the requirement of
reasonable diligence and allow substitute service to be made.”). Therefore, the Bureau
may serve ADS, Inc. through the California Secretary of State, and serve Sebreros by
email.

                                      IV. CONCLUSION

       For the foregoing reasons, the Court GRANTS the motion. The Court finds that
oral argument would not be helpful in this matter and vacates the June 8, 2020 hearing.
Fed. R. Civ. P. 78; L.R. 7-15.

                 IT IS SO ORDERED.




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                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 20-43 JVS (ADSx)                                        Date     June 3, 2020
 Title          Bureau of Consumer Financial Protection v. Chou Team Realty LLC et al

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                                                      Initials of Preparer      lmb




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